AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1                                                                                 United States District Court
                                                                                                                 Southern District of Texas

                                           UNITED STATES DISTRICT COURT                                             ENTERED
                                                 SOUTHERN DISTRICT OF TEXAS                                     December 13, 2019
                                                    Holding Session in Brownsville                               David J. Bradley, Clerk

         UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                                 v.
              NORMA LINDA VEGA                                       CASE NUMB ER: 1:18CR00673-002

                                                                     USM NUMB ER: 42744-479

                                                                     Oliver Jason Brown
                                                                     Defendant’s Attorney
THE DEFENDANT:
    pleaded guilty to count(s) 1 on January 29, 2019.
    pleaded nolo contendere to count(s)___________________________________________________________________________
     which was accepted by the court._____________________________________________________________________________
    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

Title & Section            Nature of Offense                                                             Offense Ended         Count
18 U.S.C. §§ 371,          Conspiracy to Commit Visa Fraud                                                 09/05/2018              1
1546(a), and 2
☐ See Additional Counts of Conviction.
        The defendant is sentenced as provided in pages 2 through 6         of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
 The defendant has been found not guilty on count(s )
    Count(s) 2,3, and 4                                 dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                   December 12, 2019
                                                                   Date of Imposition of Judgment


                                                                   ReservedForJudgeSignature
                                                                   Signature of Judge


                                                                   FERNANDO RODRIGUEZ, JR.
                                                                   UNITED STATES DISTRICT JUDGE
                                                                   Name and Title of Judge


                                                                   December 13, 2019
                                                                   ReservedForSignDate
                                                                   Date
AO 245B (Rev. 09/19)      Judgment in a Criminal Case
                          Sheet 2 – Imprisonment
                                                                                                    Judgment — Page   2     of   6
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                                                              IMPRISONMENT
      The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term
of: 19 months.
 See Additional Imprisonment Terms.

 The court makes the following recommendations to the Bureau of Prisons:

 The defendant is remanded to the custody of the United States Marshal.


 The defendant shall surrender to the United States Marshal for this district:
       at             12:00             p.m. on 2/7/2020
       as notified by the United States Marshal.


 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       before 2 p.m. on
       as notified by the United States Marshal.
       as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                        to

 at                                                     , with a certified copy of this judgment.


                                                                                                UNIT ED ST ATES MARSHAL




                                                                          By
                                                                                            DEPUTY UNITED ST ATES MARSHAL
AO 245B (Rev. 09/19)      Judgment in a Criminal Case
                          Sheet 3 – Supervised Release
                                                                                                           Judgment — Page       3       of        6
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                                                         SUPERVISED RELEASE
Upon release fro m imp risonment, you will be on supervised release for a term of :              3 years

                                                  MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from imprisonment
      and at least two periodic drug tests thereafter, as determined by the court.
              The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance abuse.
                  (check if applicable)
4.         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of restitution. (check
            if applicable)
5.         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as directed by
            the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work, are a
            student, or were convicted of a qualifying offense. (check if applicable)
7.         You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.

                                   STANDARD CONDITIONS OF SUPERVISION
     See Special Conditions of Supervision.
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
      imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you must
      report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
      the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements (such
      as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance
      is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware o f a change or
      expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
      items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
      you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you
      plan to change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation
      officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
      circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
      felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, y ou must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything t hat was designed,
      or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first getting
      the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you to
      notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm that you
      have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.
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                       Sheet 3D – Supervised Release
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                                  SPECIAL CONDITIONS OF SUPERVISION
Community Service
You must complete 50 hours of community service within the first year of the supervise release term. The probation officer
will supervise the participation in the program by approving the program (agency, location, frequency of participation, etc.).
You must provide written verification of completed hours to the probation officer.
AO 245B (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 5 – Criminal Monetary Penalties
                                                                                                     Judgment — Page        5    of      6
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                                         CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
               Assessment                 Restitution             Fine                AVAA Assessment*              JVTA Assessment**
TOTALS         $100.00                    $0.00                   $0.00               $0.00                         $0.00


☐ See Additional Terms for Criminal Monetary Penalties.
 The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case (AO 245C) will
  be entered after such determination.

 The defendant must make restitution (including community restitution) to the following payee s in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
    otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
    victims must be paid before the United States is paid.

Name of Payee                                                        Total Loss***            Restitution Ordered       Priority or Percentage



 See Additional Restitution Payees.
TOTALS

    Restitution amount ordered pursuant to plea agreement $

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
     the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      the interest requirement is waived for the  fine              restitution.

      the interest requirement for the  fine              restitution is modified as follows :


    Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be
     effective. Therefore, the assessment is hereby remitted.

*   Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses commit ted
    on or after September 13, 1994, but before April 23, 1996.
AO 245B (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 6 – Schedule of Payments
                                                                                                  Judgment — Page   6      of        6
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A         Lump sum payment of $100.00                       due immediately, balance due
          not later than               , or
          in accordance with  C,  D,  E, or  F below; or
B         Payment to begin immediately (may be combined with  C,  D, or  F below); or
C         Payment in equal                             installments of $                  over a period of                              ,
           to commence                               after the date of this judgment; or
D         Payment in equal                             installments of $                over a period of                                ,
           to commence                               after release from imprisonment to a term of supervision; or
E         Payment during the term of supervised release will commence within                          after release from imprisonment .
           The court will set the payment plan based on an assessment of th e defendant’s ability to pay at that time; or
F         Special instructions regarding the payment of criminal monetary penalties:
           Payable to:     Clerk, U.S. District Court
                           Attn: Finance
                           600 E. Harrison Street #101
                           Brownsville, TX 78520-7114
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Burea u of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
     Joint and Several
Case Number
Defendant and Co-Defendant Names                                                 Joint and Several            Corresponding Payee,
(including defendant number)                                Total Amount              Amount                      if appropriate


☐     See Additional Defendants and Co-Defendants Held Joint and Several.
     The defendant shall pay the cost of prosecution.
     The defendant shall pay the following court cost(s):


     The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
including cost of prosecution and court costs.
